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UNITED STATES DISTRICT COURT

DISTRICT OF MARYLAND
!
UNITED STATES OF AMERICA *
*
v. * Case No. TDC-23-381
*
SAMUEL SWEELEY, *
*
Defendant. *
*.
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ORDER

Having found that: the parties are engaged in discovery and expect additional
productions from the Government—and thereby additional time is needed for the defense to
those productions; that the parties are exploring potential pretrial resolution, which would :
judicial resources and also would be of benefit to both parties.

And that good and sufficient cause having been shown—and taking into account the

interest in the prompt disposition of criminal cases—it is this 6th day of December 2023

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ORDERED, for the reasons set forth in the Motion, which is incorporated herein, that the

Motion is GRANTED; and it is further
ORDERED, the time period of November 1, 2023, to December 22, 2023, inclu
excluded in computing the time within which the trial must commence, pursuant to 18 U
3161 (h)(7).
Nothing in this Order shall preclude a finding that other provisions of the Speedy T:
dictate. that additional time periods are excluded from the period within which tria

commence. Moreover, the same provisions and/or other provisions of the Speedy Trial A

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in the future authorize the exclusion of additional time periods from the period within which

trial must commence.

United States District Judg
